                              UNITED STATE DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


LARRY MAYS                                            )
                                                      )
               Plaintiff,                             )
                                                      )      No. 3:09-CV-06
V.                                                    )      (VARLAN/GUYTON
                                                      )
TENNESSEE VALLEY AUTHORITY,                           )
                                                      )
               Defendant,                             )


GEORGE CHESNEY, ET AL.,                               )
                                                      )
               Plaintiff,                             )
                                                      )      No. 3:09-CV-09
                                                      )      (VARLAN/GUYTON)
V.                                                    )      Consolidated Lead Case for Discovery
                                                      )      for 3:09-CV-14 and 3:09-CV-114
TENNESSEE VALLEY AUTHORITY, ET AL.,                   )
                                                      )
               Defendants.                            )


                             REPORT AND RECOMMENDATION

        These related actions are before the Court pursuant to 28 U.S.C. § 636(b), the Rules of this

Court, and by the referral of the Honorable Thomas A. Varlan, United States District Judge, for

disposition of matters pertaining to discovery and trial preparation. Now before the Court are the

parties’ motions for class certification, [Doc. 110 in Case No. 3:09-CV-06; Doc. 242 in Case No.

3:09-CV-09], and the Defendants’ responses in opposition to class certification, [Doc. 115 in Case

No. 3:09-CV-06; Docs. 276 and 280 Case No. 3:09-CV-09], along with the Plaintiffs’ reply briefs

and the parties’ respective supplemental materials.

        For the reasons more fully explained below, the Court finds that the Plaintiffs’ motions are

not well-taken, and the Court RECOMMENDS that they be DENIED.

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I.      BACKGROUND

        The facts underlying the instant suit are familiar to the parties and the Court, having been

stated in detail throughout these cases. In summary, the Tennessee Valley Authority (“TVA”)

operates power production facilities throughout the country, including the Kingston Fossil Plant

located in Roane County, Tennessee. The coal ash waste produced at the Kingston Fossil Plant is

stored in wet containment facilities at nearby Swan Pond. On December 22, 2008, one of the coal

ash containment dikes at the Swan Pond facilities failed. As a result of the dike failure,

approximately 5.4 million cubic yards of coal ash sludge spilled from the 84-acre containment area

of the Swan Pond facilities to an adjacent area of about 300 acres, consisting of primarily the Watts

Bar Reservoir, the Clinch and Emory Rivers, and government and privately owned shoreline

properties. See Mays v. TVA, 699 F. Supp. 2d 991, 995-1000 (E.D. Tenn. 2010) (providing a more

detailed recitation of the events leading up to and following the ash spill).

        A total of 592 persons, who allege their person and/or their property have been damaged by

the ash spill, filed approximately fifty-five individual suits with this Court.1 As of November 17,

2010, a total of 135 persons had dismissed their individual claims, leaving 457 plaintiffs before the

Court, spread over approximately fifty suits. The two suits now before the Court– Mays v. TVA,

Case No. 3:09-CV-06 and Chesney v. TVA, Case No. 3:09-CV-09– are the only suits that seek

certification of a class of plaintiffs. The Mays case has a single plaintiff, while the Chesney case

includes ten individual plaintiffs. Other suits include more numerous groups of plaintiffs: Auchard




        1
          TVA has supplied this total calculated as of November 17, 2010. See Doc. 280-4. The
Plaintiffs have presented no evidence to the contrary, and the Court finds this calculation to be an
accurate approximation of the total number of plaintiffs in these actions.

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v. TVA,2 Case No. 3:09-CV-00054 (299 individual plaintiffs); Scofield v. TVA, Case No.

3:09-CV-00064 (20 individual plaintiffs); and Raymond v. TVA, Case No. 3:09-CV-00048 (26

individual plaintiffs). In addition, approximately one hundred plaintiffs have filed suits in which

there is either a single plaintiff or a few individual plaintiffs from the same family, e.g., Case Nos.

3:09-CV-491, 495, and 496.



II.      POSITIONS OF THE PARTIES

         The Plaintiffs move the Court to certify a class of plaintiffs to try the claims presented in

these cases.3 The Plaintiffs maintain that a class action will be the most practical and efficient

mechanism for managing the claims relating to the ash spill. In support of this position, the Plaintiffs

note that: the harm alleged was inflicted by a single incident; these suits raise common questions of

law and fact; and the classes of plaintiffs could be grouped rationally so as to dispose of common

issues. The Plaintiffs argue that they satisfy all of the prerequisites for certification laid out in Rule

23 of the Federal Rules of Civil Procedure.




         2
         Just before the Court was to take up the instant motions for class certification, the plaintiffs in
Auchard filed their Motion to Establish Bellwethers for the September 2011 Trial [Doc. 195], which
requests that the Court “enter an order establishing bellwether plaintiffs for the September 2011 trial in
this and other ‘earlier filed’ TVA Ash Spill Cases, and limiting further plaintiff-specific discovery and
expert witness disclosures to a corresponding pool of potential bellwether plaintiffs . . . .”
         3
          Counsel from the two cases now before the Court maintain that their prayers for class
certification are distinguishable from one another, because the cases, for example, make different claims,
requests different damages, are brought by persons with differing property interests, and are more or less
representative of the “typical” persons damaged by this disaster. To the extent the Court finds that the
alleged differences between the Mays and Chesney requests for certification are pertinent to the class
certification determination, the Court will note the same.

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         TVA, along with Defedants WorleyParsons Corporation (“WorleyParsons”) and Geosyntec

Consultants, Inc., (“Geosyntec”),4 responds that the Plaintiffs do not satisfy the requirements of Rule

23.     Specifically, TVA argues that the Plaintiffs’ claims raise uniquely individual issues of

causation, liability, and damages, in addition to raising unique defenses, and thus they do not fulfill

the predominance requirement. TVA also argues that the Plaintiffs have not demonstrated the

superiority of certification in this case. Further, TVA argues that the class proposal is unmanageable

and issue certification would be impracticable and wasteful.



III.     APPLICABLE LAW

         In pertinent part, Rule 23 directs that a class may be certified for litigation of claims, where:

                 (1) the class is so numerous that joinder of all members is
                 impracticable;

                 (2) there are questions of law or fact common to the class;

                 (3) the claims or defenses of the representative parties are typical of
                 the claims or defenses of the class; and

                 (4) the representative parties will fairly and adequately protect the
                 interests of the class.

Fed. R. Civ. P. 23(a).

         Further, a class action may be maintained only where:

                 (1) prosecuting separate actions by or against individual class
                 members would create a risk of:




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          TVA is the only common defendant in the two suits. Chesney also includes Defendants
WorleyParsons and Geosyntec. All of the Defendants have responded in opposition to the class
certification issue. Thus, while the Court has reviewed all of the parties’ filings and this decision has
universal application, the Court will refer to TVA rather than WorleyParsons and Geosyntec, in its
analysis, except when noting an argument specifically made by WorleyParsons and Geosyntec.

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                        (A) inconsistent or varying adjudications with respect to
                        individual class members that would establish incompatible
                        standards of conduct for the party opposing the class; or

                        (B) adjudications with respect to individual class members
                        that, as a practical matter, would be dispositive of the interests
                        of the other members not parties to the individual
                        adjudications or would substantially impair or impede their
                        ability to protect their interests;

                (2) [Omitted]5 or

                (3) the court finds that the questions of law or fact common to class members
                predominate over any questions affecting only individual members, and that a class
                action is superior to other available methods for fairly and efficiently adjudicating the
                controversy. The matters pertinent to these findings include:

                        (A) the class members’ interests in individually controlling
                        the prosecution or defense of separate actions;

                        (B) the extent and nature of any litigation concerning the
                        controversy already begun by or against class members;

                        (C) the desirability or undesirability of concentrating the
                        litigation of the claims in the particular forum; and

                        (D) the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(1) and (b)(2).

        “The party seeking the class certification bears the burden of proof.” In re Am. Med. Sys.,

Inc., 75 F.3d 1069, 1079 (6th Cir. 1996); see also Senter v. Gen. Motors Corp., 532 F.2d 511, 522

(6th Cir. 1976). Before certifying a class, a district court must conduct a “rigorous analysis” into

whether the prerequisites of Rule 23 are met. In re Am. Med. Sys. Inc., 75 F.3d at 1078-79 (quoting

Gen. Tel. Co. v. Falcon, 457 U.S. 147, 161 (1982)). “The district court retains broad discretion in

determining whether an action should be certified as a class action, and its decision, based upon the

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         The Plaintiffs have stated that they do not seek for a class to be maintained based upon the need
for injunctive relief, pursuant to Fed. R. Civ. P. 23(b)(2). Thus, the Court has omitted this statutory
provision.

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particular facts of the case, [will] not be overturned absent a showing of abuse of discretion.”

Sterling v. Velsicol Chem. Corp., 855 F.2d 1188, 1197 (6th 1988).



IV.     ANALYSIS

        In the instant cases, the Court finds that the Plaintiffs have not satisfied the prerequisites to

class certification. They have not demonstrated: impracticality of joinder, Fed. R. Civ. P. 23(a)(1);

typicality of claims or defenses, Fed. R. Civ. P. 23(a)(3); or that the representative parties will

adequately protect the interests of the class, Fed. R. Civ. P. 23(a)(4).

        Further, the Plaintiffs have not satisfied Rule 23(b) because they have not demonstrated that

the prosecution of separate actions would result in inconsistent standards for the defendants or be

dispositive of the interests of non-parties, Fed. R. Civ. P. 23(b)(1). They have also failed to

demonstrate that questions of law or fact common to class members predominate over any questions

affecting only individual members, Fed. R. Civ. P. 23(b)(2). A class action is not superior to other

available methods for fairly and efficiently adjudicating these cases. The claims asserted in these

cases are characterized by individual, not common, issues. For just adjudication, these claims

require individualized, fact-specific inquiries regarding the existence, nature and extent of each

plaintiff’s alleged damages, and the causation of that damage.

A.      Rule 23(a)

        Under Rule 23, the Plaintiffs must demonstrate each of the four prerequisites contained in

Subsection (a). In this case, the Court finds that the Plaintiffs have not demonstrated: numerosity,

typicality, or adequacy of representation.




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1.      Numerosity

        Under part (a)(1) of Rule 23, persons moving for class certification must show that “the class

is so numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1).

        “There is no strict numerical test for determining impracticability of joinder.” In re Am.

Med. Sys. Inc., 75 F.3d at 1079 (citing Senter, 532 F.2d at 522). “Apart from class size, other

case-specific factors that courts should consider in determining whether joinder is impracticable

include: the judicial economy, the geographical dispersion of class members, the ease of identifying

putative class members, and the practicality with which individual putative class members could sue

on their own.” Cannon v. GunnAllen Fin., Inc., 2008 WL 4279858 (M.D. Tenn. Sept. 15, 2008)

(citing Alba Conte & Herbert Newberg, 1 Newberg on Class Actions § 3:6 (4th ed. 2003)).

        The Court finds that the persons who may have claims against TVA are easily identified.

Potential claimants – and thus, putative class members – are aware of their rights. This is clearly

evidenced by the number of persons who have filed individual claims. Coverage from local and

national news media, the work of state and federal agencies, and a public relations campaign from

TVA itself have made the ash spill’s occurrence widely-known. Counsel for the Plaintiffs have

represented that potential claimants are waiting to file suits, holding out for class certification. No

evidence of such hold-outs has been presented to the Court. The Court finds that persons affected

by the ash spill are aware of their potential claims, as shown by the number of filings, and their

awareness argues against finding joinder impracticable.

        In terms of geography, the Court finds that the claimants live or own property in an acute

geographic area near the Kingston Plant and the Emory, Clinch, and Tennessee Rivers. While some

property owners reside out of state, they own property in this area, from which their potential claim




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would derive. This case does not involve, for example, a defective consumer good, marketed

nationally, which would produce potential claimants all over the country.

        The geographic disbursement of potential claimants in this case is similar to that previously

presented to this Court in Turnage v. Norfolk Southern Corporation, Case No. 3:03-CV-341. The

Court’s decision not to certify a class in Turnage, following a railroad accident and spill, was

affirmed by the Court of Appeals, which explained:

                Unlike some proposed classes that are spread throughout a city, state,
                or even the entire country, every potential plaintiff in this case lives
                within a three-mile radius. And unlike some harms that take place
                over long spans of time and require years to materialize, the harm in
                this case occurred at one brief point in time and was immediately
                obvious in its effects.

Turnage v. Norfolk S. Corp., 307 Fed. App’x 918, 921 (6th Cir. 2009).

        In regards to the practicality of potential claimants suing on their own, as noted, hundreds

of persons have filed on their own. There are no barriers to filing potential claims. No evidence has

been presented to the Court establishing that potential claimants lack access to attorneys or the Court.

In fact, the number of individual lawsuits filed establishes just the opposite, and it counters any

argument that pursuing an individual claim would not be worthwhile. In addition, the Court is

located approximately thirty-five miles from the scene of the ash spill. All potential plaintiffs would

be pursuing their claims in a relatively convenient forum.

        The costs attendant to trying these cases have already been reduced by the Court’s prior

rulings. The District Judge has ruled that the claims against TVA will not be tried by a jury. The

District Judge has also ruled that punitive damages will not be awarded against TVA, and that

TVA’s recovery operations cannot support damage claims, which further narrows the case and

reduces the costs of pursuing a claim.


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        “While large numbers may, in many cases, indicate impracticability of joinder, numbers are

not a perfect predictor. Rather than naming a specific number, Rule 23 places the size of the class

in the context of actual impracticability of joinder.” Turnage, 307 Fed. App’x at 921; see also

Rasmuson v. United States, 91 Fed. Cl. 204 (Fed. Cl. 2010) (finding numerosity requirement not

satisfied, where 150 parcels of land were potentially affected by a taking without compensation,

because majority of claimants were in close geographic proximity and could be joined in the action);

Benefield v. Int’l Paper Co., ___ F.R.D. ___, 2010 WL 4180757 (M.D. Ala. Oct. 20, 2010) (finding

that 1,500 separate properties do not result in impracticality of joinder where plaintiffs, claiming

personal injury and property damage, sued a paper manufacturing facility for trespass, private

nuisance, public nuisance, and negligence based on alleged discharges of hazardous substances, and

where companion cases, with hundreds of joined individual claims, were proceeding to trial); Hum

v. Dericks, 162 F.R.D. 628 (D. Haw. 1995) (finding joinder of members of proposed class of 200

persons was not “impracticable,” where most class members were residents of state and could be

identified through medical records); United Steelworkers of Amer., Etc., Local 8024 Union v. Jarl

Extrusions, 405 F. Supp. 302 (E.D. Tenn. 1975) (Neese, J.) (finding joinder was not impracticable

where 85 employees where all residents of the jurisdiction). After considering all of the foregoing,

the Court finds that the joinder of these claims would not be impracticable.

        The Court finds that the Plaintiffs have failed to demonstrate that the proposed class members

are “so numerous that joinder of all members [would be] impracticable.” Fed. R. Civ. P. 23(a)(1).

2.      Adequacy of Representation

        A court may not certify a class unless it finds that the representative parties “fairly and

adequately represent the interests of the class.” Fed. R. Civ. P. 23(a)(4). Representative plaintiffs




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also must demonstrate a commitment to vigorously prosecute the interests of the class. “The

adequacy of representation requirement ‘overlaps with the typicality requirement because a class

representative has no incentive to pursue the claims of the other class members absent typical

claims.’” Isabel v. Velsicol, No. 04-2297 DV, 2006 WL 1745053, at *7 (W.D. Tenn. June 20, 2006)

(citing In re Am. Med. Sys., Inc., 75 F.3d at 1083). Whenever named plaintiffs have interests that

are actually or potentially antagonistic to the interests and objectives of other class members, the

concern is that the named plaintiffs cannot “vigorously prosecute” the interests and objectives of the

class. Id.; see also 7A Charles A. Wright, Arthur R. Miller, & Mary K. Kane, Fed. Practice &

Procedure § 1768 (3d ed. 2005).

       In these cases, Defendants WorleyParsons and Geosyntec were originally sued only in Long

v. TVA, Case No. 3:09-CV-114. [See Doc. 191 in Case No. 3:09-CV-114 contra Doc. 61 in Case

No. 3:09-CV-09, Doc. 1 in Case No. 3:09-CV-14]. The Long plaintiffs asserted claims for personal

injury, medical monitoring, and property damage. The First Amended Complaint proposed sixteen

defined classes, with many subclasses, which covered geographic boundaries different from those

which the Chesney and Mays Plaintiffs now seek to certify.

       Only one original Long plaintiff, Mr. Simon, remains a class representative in Chesney.

Counsel in Long moved to dismiss all other plaintiffs’ claims without prejudice. [Doc. 196 in Case

No. 3:09-CV-114]. Although Long originally filed a motion to sever those orphaned plaintiffs and

claims, the motion was withdrawn. Accordingly, the status of the personal injury claims of the

formerly named Long plaintiffs is uncertain. What is clear, though, is that when Long counsel moved

to consolidate with Chesney (f/k/a Blanchard) and Giltnane, the Consolidated Class Action

Complaint no longer included claims for personal injury. [See Doc. 185 in Case No. 3:09-CV-09].




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        The Consolidated Class Action Complaint includes a resident class proposed specifically for

purposes of medical monitoring as well as two geographic boundary classes for property damage.

With the exception of Mr. Simon, all of the resident class members offered testimony regarding their

intent to seek medical monitoring for the proposed class. Chesney Dep. 91:9-12, Aug. 20, 2010;

Cordell Dep. 147:5-7, Aug. 19, 2010; Maines Dep. 56:14-24, Aug 27, 2010; Simon Dep. 153:6-9,

Aug 18, 2010; Worley Dep. 87:23-88:9, Aug 26, 2010. Mr. Worley’s counsel even clarified on the

record that the omission of Mr. Worley’s name from the resident class seeking medical monitoring

was a drafting error, and that Mr. Worley was indeed seeking such monitoring. Worley Dep.

88:10-22. Mr. Gaddis, who did not fit the resident definition as proposed in the Consolidated Class

Action Complaint, and was not personally seeking medical monitoring, sought to represent his class

for purposes of medical monitoring. Gaddis Dep. 62:10-18; 171:14-19, Sept. 8, 2010.

        However, when Chesney Plaintiffs ultimately filed their Motion for Class Certification, it

contained new class definitions and entirely abandoned medical monitoring relief on behalf of the

class. The latest proposed complaint in Chesney [Doc. 305-1, proposed January 6, 2011] makes no

mention of medical monitoring. Instead, it includes claims for property damage, diminution of the

value of real estate, loss of enjoyment of real property, and loss of quality of life.

        The Mays class definition,6 based solely on property ownership, and the Mays complaint,

seeking only damages for private nuisance, present similar concerns about claim-splitting or

requiring plaintiffs to abandon the medical monitoring claims and personal injury claims altogether.




       6
         “All individuals who own or owned real property located on the Emory or Clinch Rivers
downstream from the TVA Kingston Fossil Plant in Roane County, Tennessee, during the period
beginning on December 22, 2008 and ending on the date of trial who suffered available damages under
Tennessee nuisance law.” [Doc. 110 in 3:09-CV-06].

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         The Court finds that the result of the decision to abandon certification of medical monitoring

claims, emotional distress claims, and personal injury claims, however, is that representative

plaintiffs are no longer vigorously representing claims that exist in the putative class. There are

putative class members with claims for personal injury, emotional distress, and medical monitoring

who may be precluded from raising these claims in later litigation. See Isabel, 2006 WL 1745053,

at *7.

         As District Judge Donald of the Western District of Tennessee found in addressing a similar

division of claims, where class representatives “do not share the interests or a presumptive subset

of the larger class,” and do not appear capable or ready to pursue the interests of the entire class, the

proposed class does not fulfill the adequacy of representation prerequisite necessary for class

certification. See id. at *7. Courts addressing similarly diverse claims and interests have reached

the same conclusion. See Berger v. Compaq Computer Corp., 257 F.3d 475 (5th Cir. 2001) (“Class

action lawsuits are intended to serve as a vehicle for capable, committed advocates to pursue the

goals of the class members through counsel, not for capable, committed counsel to pursue their own

goals through those class members.”). See also, Benefield, 2010 WL 4180757 (denying class

certification because, among other things, putative class members could jointly own property with

individuals who had filed separate suits).

         The Court finds the same to be true in these cases. The diversity of claims in these cases and

the danger of plaintiffs being excluded from asserting their individual claims for personal injury,

medical monitoring, or other claims undermine the adequacy of this representation. Thus, the Court

finds that the Plaintiffs have not satisfied the adequacy of representation prerequisite necessary for

class certification, Fed. R. Civ. P. 23(a)(4).




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3.      Typicality

        The varied relief sought by the proposed class representatives and the differing entities from

whom they seek damages, as discussed above, also demonstrate a lack of typicality among the

proposed classes.

        Rule 23(a)(3) requires that “claims or defenses of the representative parties are typical of the

claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are not required to be

identical to the claims of the putative class to meet this hurdle. Isabel, 2006 WL 1745053, at *6

(citing Gen. Tel. Co. v. Falcon, 457 U.S. at 155). “To satisfy the typicality requirement a sufficient

relationship must exist between the injury to the named plaintiffs and the conduct affecting the class,

such that ‘the court may properly attribute a collective nature to the challenged conduct.’” Isabel,

2006 WL 1745053, at *6 (quoting In re Amer. Med. Sys. Inc., 75 F.3d at 1082))

        These cases present claims for damages to property and related loss of enjoyment, despite

the fact that even the class representatives have stated that they wish to also pursue medical

monitoring claims. Moreover, some plaintiffs seek damages from TVA, exclusively, while others

also seek damages from subcontractors who performed work at and/or evaluations of the Kingston

Fossil Plant. Given the distinct claims and differing parties, litigation strategies, the type of evidence

required, and the underlying theory of causation will be distinct. Isabel, 2006 WL 1745053, at *7.

“This misalignment of interests between representative plaintiffs and the larger class is exactly what

typicality is intended to prevent.” Id. Thus, the Court concludes that the claimants named in both

Mays and Chesney are not sufficiently typical, and the Court finds that the Plaintiffs have failed to

satisfy the necessary prerequisite to class certification contained in Rule 23(a)(3).

        In sum, and based upon all of the foregoing, the Court finds that the Plaintiffs’ request for

class certification fails under Rule 23(a).

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B.      Rule 23(b)

        Even assuming that the Plaintiffs’ proposed classes satisfied the requirements of Rule 23(a),

a class action must also satisfy the prerequisites of Rule 23(b)(1), (b)(2), and (b)(3). In this case, the

Plaintiffs do not rely upon Subsection (b)(2), as there appears to be little dispute that these cases

either did not seek injunctive or declaratory relief or such relief has already been dismissed. Instead,

the Plaintiffs rely upon Subsections (b)(1), which requires that there be a risk of inconsistent

judgments or judgments that will dispose of other claims, and (b)(3), which requires that class

certification be the superior means for adjudication. For the reasons that follow, the Court finds that

the Plaintiffs have failed to demonstrate either of these criteria.

1.      Inconsistency of Standards or Disposition of Non-Party Interests

        “Certification under subsection (1) of Rule 23(b) is proper when the prosecution of separate

actions would result in inconsistent standards for the defendants or be dispositive of the interests of

non-parties.” Isabel, 2006 WL 1745053, at *7.

        The Court finds that there is little danger of inconsistent judgments in these cases because

many overarching determinations, such as TVA’s discretionary function defense, have already been

adjudicated. The cases will be tried to the District Judge, not a jury. The Plaintiffs did not present

any arguments or evidence concerning why class certification would be appropriate under Rule

23(b)(1). It is their burden to present such proof. Therefore, there being no reason to expect that

separate actions would create inconsistent standards for the Defendants or would be dispositive of

non-parties’ interests, the Court finds that the proposed class action may not be maintained under

Rule 23(b)(1).




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2.      Superiority and Predominance

        In order to certify a class pursuant to subsection (3) of Rule 23(b), “the court [must find] that

the questions of law or fact common to class members predominate over any questions affecting only

individual members, and that a class action is superior to other available methods for fairly and

efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

        The Court finds that a class action is not the superior means for adjudication of the claims

relating to the ash spill, nor do the issues presented predominate over any questions affecting only

individual members. Instead, the Court finds that the individualized questions presented in these

cases predominate over all others. There is no dispute that the ash spill took place. Rather, the

parties dispute how much ash came onto any given parcel of land, how the use and enjoyment of a

specific parcel was affected, the ownership of that parcel, and the value of the parcel and its use and

enjoyment and the effects on persons. The evidence to be used in making these determinations will

be, for example, individual accounts of land’s usage, deeds, leases, title histories, maps, records of

improvements, parcel specific test results, other documentation of potential ash intrusion, and

medical records. These questions will predominate, and they will be unique for almost every

claimant.

        In this vein, the Advisory Notes to Rule 23 explain, “A ‘mass accident’ resulting in injuries

to numerous persons is ordinarily not appropriate for a class action because of the likelihood that

significant questions, not only of damages but of liability and defenses of liability, would be present,

affecting the individuals in different ways.” Advisory Comm. Notes, 1966 Amendments.

        Courts examining mass accidents and contamination suits with facts similar to those now

before the Court have concluded that unique factual inquiries will predominate. See, e.g., In re

Katrina Canal Breaches Consol. Litig., 2009 WL 1707923 (E.D. La. June 16, 2009)(finding class

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certification inappropriate because claims relating to property damages suffered in Hurricane Katrina

“inherently require[d] individualized fact-specific inquiries”); John v. Nat’l Sec. Fire & Cas. Co.,

2006 WL 3228409 (W.D. La. Nov. 3, 2006) (granting motion to dismiss class allegations where

“factual inquiry would have to be made into each putative class member’s claims, such as where and

when materials and supplies were being purchased, what was the market price at that time, and when

did the price of materials and supplies decrease.”); Martin v. Shell Oil Co., 198 F.R.D. 580 (D.

Conn. 2000) (denying class certification in groundwater contamination case because varying

contamination test results at individual properties indicated that individual issues predominated);

Thomas v. FAG Bearings Corp., Inc., 846 F. Supp. 1400,1404-05 (W.D. Mo. 1994) (finding class

certification was “not a superior or even desirable mechanism” in a groundwater contamination case

because not all properties were equally affected).

        The Court finds this case is similar to Benefield v. International Paper Company, ___ F.R.D.

___, 2010 WL 4180757 (M.D. Ala. Oct. 20, 2010), a case in which the district court found that class

certification was not appropriate. In Benefield, the plaintiffs brought claims of, inter alia, trespass,

nuisance, and negligence against International Paper as a result of its operation of a paper

manufacturing facility. Id. at *1. As with the ash spill cases in this district, the Middle District of

Alabama was faced with numerous suits proceeding on similar theories but seeking different

damages. See id.

        The court in Benefield found the proposed class – persons owning property within two miles

of the facility – was insufficient because “a residential property owner within the class area [having]

corrosion on his or her property [did] not necessarily mean that . . . he or she is a member of the

class.” Id. at *3. The court found that mass appraisals would not satisfy the burden of demonstrating




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who was a member of the class. Id. at *4. Instead, the court found that additional fact-finding would

be required to determine what property owners actually met the class definition. Id.

       In both of the present cases, the Plaintiffs use property interests, either ownership or a

leasehold, as the baseline characteristic of the putative class members. This characteristic does not

automatically entail a legal claim against TVA. There may be no ash on a piece of property, a de

minimis amount of ash on a property, or ash that was present before the ash spill. Further, the

presence of ash does not, necessarily, impute liability. Moreover, outside factors may have caused

any property value diminution, not the ash spill. A decrease in the value of certain property may be

due, in whole or in part, to the general downturn of the real estate market in recent years.

       If a claim is viable, its viability, and the damages owed to any given plaintiff, will be based

upon individual factors. In short, each individual claimant should have a fair opportunity to present

the Court with such evidence as might allow recovery of the total amount of that claimant’s unique

damages. The creation of classes would prevent this opportunity.

       Plaintiffs argue that the Court will not be able to adjudicate the number of joined claims,

asserting that the litigation will be interminable. The Court finds that these dire predictions are

without basis. The District Judge has already demonstrated the ability to adjudicate significant

preliminary issues and to put in place procedures to allow the efficient preparation of these cases.

       Thus, for all the reasons stated above, the Court finds, first, that there is no danger of

“inconsistent or varying adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.” The Court, further, finds

questions affecting only individual members and specific factual inquiries predominate over any

common questions of law or fact, and a class action is not the superior method for fairly and

efficiently adjudicating the controversy. Thus, neither Rule 23(b)(1) or (b)(3) is satisfied.

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        Accordingly, the Court finds that the Plaintiffs’ request for class certification also fails under

Rule 23(b).

C.      Joinder of New Plaintiffs: Recommended Procedure

        In order to minimize unnecessary pleadings, motions, and expenditure of the Court’s

resources, The Court RECOMMENDS the following procedure for joining new plaintiffs following

denial of the motions for class certification: counsel in Mays and Chesney, as well as in all other

pending cases, shall have the right (but not the obligation),to add plaintiffs to the complaints in these

actions by way of filing with the Court and serving on Defendants an Appendix of New Plaintiffs

(the “Appendix”). The Appendix will list each new Plaintiff by name and address, specify the type

of claim (e.g., personal injury, property damage), identify which causes of action pending in the

operative complaint are asserted (e.g., negligence) and state whether Plaintiff is proceeding

individually and/or as a representative, a guardian or next of friend of another (and the same

information shall be provided for any such other person). The claims of individuals named in any

Appendix shall be deemed made for purposes of any applicable limitations period(s), whether

governed by applicable statutes of limitations or repose, as of the date of the filing of the Appendix;

the claims of such individuals shall not relate back to the date of any previously filed pleading or

other document in the above-listed actions. The foregoing provision shall not alter or eliminate any

tolling of a statute of limitations or repose to which any such individual may be entitled as a result

of being a putative class member. Upon the filing of any Appendix, the individuals identified therein

shall be subject to all orders, including case management orders, entered prior to their joinder in the

lawsuit. Finally, as stated in the Scheduling Order entered July 15, 2010, any Appendix or other

amendment of the pleadings shall be filed at least one hundred and fifty days before trial.




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V.      CONCLUSION

        Based upon the foregoing, the Court RECOMMENDS7 that the Motions for Class

Certification [Doc. 110 in Case No. 3:09-CV-06; Doc. 242 in Case No. 3:09-CV-09] be DENIED,

and at the same time, that the procedure for joining new plaintiffs proposed herein be approved.

                                                         Respectfully Submitted,


                                                              s/ H. Bruce Guyton
                                                         United States Magistrate Judge




        7
         Any objections to this Report and Recommendation must be served and filed within fourteen
(14) days after service of a copy of this recommended disposition on the objecting party. Fed. R. Civ. P.
72(b)(2). Such objections must conform to the requirements of Rule 72(b), Federal Rules of Civil
Procedure. Failure to file objections within the time specified waives the right to appeal the District
Court’s order. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466 (1985). The district court need not provide
de novo review where objections to this report and recommendation are frivolous, conclusive or general.
Mira v. Marshall, 806 F.2d 636 (6th Cir. 1986). Only specific objections are reserved for appellate
review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370 (6th Cir. 1987).

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